                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


 Case Title: Nealy L Skeldon v.             Case Number: 1:25-cv-06078
             DermaCare USA Corporation,
             et al.
An appearance is hereby filed by the undersigned as attorney for:
Nealy L Skeldon
Attorney name (type or print): Vlad V. Chirica

Firm: Chirica Law Office LLC

Street address: 203 N. LaSalle Street, Suite 2100

City/State/Zip: Chicago, Illinois 60601

 Bar ID Number: 6320436                                Telephone Number: (312) 868-0331
 (See item 3 in instructions)

Email Address: vlad@chirica.law

Are you acting as lead counsel in this case?                                 ✔ Yes             No

Are you a member of the court’s general bar?                                 ✔ Yes             No

Are you a member of the court’s trial bar?                                       Yes       ✔ No
Are you appearing pro hac vice?                                                  Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?                  Yes       ✔ No
If this is a criminal case, check your status.

                                                                  Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on May 30, 2025

Attorney signature:        S/ Vlad V. Chirica
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                       Revised 07/19/2023
